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F".E’D B'y' __ 0 (,\
IN THE `U'NITED STATES DISTRICT COURT '"` ‘J'

FOR THE wEsTERN DISTRICT oF TENNESSEE 05 JL;;; ;5 PH 2_ 5
wEsTERN DIVISION ' 7

HOB£:`R"F` ’-?_ jj ~'~31~.,

MAR.CUS K.ANARD PAYNE,
Plaintiff,

vs. Civ. No. 05-2310-M1[P

STATE OF TENNESSEE, et al . .~

Defendants.

 

ORDER DENYING DEFENDANT'S MOTION FOR ENLARGEMENT OF TIME

 

Before the court is defendant, State of Tennessee's Motion
for Enlargement of Time, filed June 8, 2005 (dkt #12). A review
of the record reveals that the defendant did not file a
certificate of consultation. with its motion. Local Rule 7.2
requires that

“[a]ll motions . . . shall be accompanied by
a certificate of counsel . . . affirming
that, after consultation between the parties
to the controversy, they are unable to reach
an accord as to all issues or that all other
parties are in agreement with the action
requested by the motion.” Local Rule
7.2(a)(l)(B). Failure to file a Rule 7.2
certificate “may be deemed good grounds for
denying the motion.” Id.

Therefore, defendant’s motion is DENIED, without prejudice.

Th£s document entered cn the docket sheet in compliance

With Hqu 58 and/cr 79(3) FHCP on (i“/@ 'U= §

 

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The defendant may renew its motion by refiling it with a

certificate of consultation in compliance with Local Rule 7.2.

IT lS SO ORDERED.

/c:f\>@li

TU M. PHAM
United States Magistrate Judge

:S-L>U._ \L\c/ MS/

Date '

 

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This notice confirms a copy of the document docketed as number 14 in
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Honorable J on McCalla
US DISTRICT COURT

